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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:12-CR-257 (09)

v.                                                           HON. ROBERT HOLMES BELL

TIMOTHY LANG,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Timothy Lang has filed a motion for modification or reduction of sentence (ECF

No. 692) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on July 17, 2015 (ECF No.

820). In its report, the probation department did not recommend a reduction in sentence, stating

Defendant received a Safety Valve at the time of sentencing and his mandatory minimum was not

released pursuant to USSG § 5K1.1 or Rule 35(b). Counsel for Defendant filed a response to the

sentence modification report (ECF No. 823) requesting the court grant his motion for a sentence

reduction and reduce his sentence, indicating under § 1B1.10(b)(1) that guideline application should
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not be disturbed. The defendant further argues that the 60-month mandatory minimum sentence did

not apply at Mr. Lang’s original sentencing and does not apply now. Mr. Lang’s guideline range at

his original sentencing was 46 to 57 months, and the sentence imposed was 48 months. The

defendant is requesting a 2-level reduction pursuant to Amendment 782, reflecting a guideline range

of 30 to 37 months. The government filed a response to the sentence modification report (ECF No.

825). The government agrees that Mr. Lang is correct and the Safety Valve provision, USSG §

5C1.2 and 18 U.S.C. § 3553(f), operated to release the statutory mandatory minimum sentence at his

original sentencing and remains equally applicable for any resentencing. The government objects

to the U.S. Probation Office’s assessment that Mr. Lang is not eligible for a sentence modification

pursuant to Amendment 782.

       IT APPEARS that defendant Timothy Lang is eligible for reduction in sentence based on

defendant currently being an inmate, USSG § 2D1.1 was used in the guideline calculations, and the

guideline range applicable to the defendant subsequently has been lowered as a result of the

retroactive amendment to the Sentencing Guidelines (782). A reduction of sentence is consistent

with the policy statements of the U.S. Sentencing Commission. This Court finds in favor of

Defendant Lang that the mandatory minimum did not apply at his original sentencing.

       NOW THEREFORE, IT IS HEREBY ORDERED that sentence modification report (ECF

No. 820) is OVERRULED. Defendant's motion for modification of sentence (ECF No. 692)

pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Timothy Lang's sentence shall be

reduced to 32 months imprisonment, effective November 1, 2015. An order effectuating the

sentence reduction shall issue forthwith.


Dated: August 17, 2015                          /s/ Robert Holmes Bell
                                                ROBERT HOLMES BELL
                                                UNITED STATES DISTRICT JUDGE
